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13
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14   UNITED STATES OF AMERICA

15                           UNITED STATES DISTRICT COURT

16                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

17   UNITED STATES OF AMERICA,                No. CR 23-221-JFW

18              Plaintiff,                    GOVERNMENT’S RESPONSE TO THE PRE-
                                              SENTENCE REPORT AND SENTENCING
19                   v.                       RECOMMENDATION FOR DEFENDANT
                                              TREVOR JACOB
20   TREVOR JACOB,

21              Defendant.                    Sent. Hearing Date: 12-4-23

22                                            Time: 8:00 a.m.

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25
          Plaintiff United States of America, by and through its counsel
26
     of record, the United States Attorney for the Central District of
27
     California and Assistant United States Attorneys Dennis Mitchell,
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 1   Dominique Caamano, and Mark A. Williams hereby submits its Response

 2   to the Pre-Sentence Report and Sentencing Recommendation for

 3   defendant Trevor Jacob.

 4

 5   Dated: November 13, 2023             E. MARTIN ESTRADA
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 9                                              /s/
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12                                        UNITED STATES OF AMERICA
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 1   I.    INTRODUCTION

 2         Pursuant to his plea agreement with the government, on June 30,

 3   2023, defendant Trevor Jacob (“defendant”) pleaded guilty to a single

 4   count information which charged defendant with destruction and

 5   concealment of a tangible object with the intent to impede, obstruct

 6   and influence the investigation and proper administration of a matter

 7   within the jurisdiction of a department or agency of the United

 8   States, in violation of Title 18, United States Code, Section 1519.

 9   II.   GOVERNMENT’S RESPONSE TO THE PRESENTENCE REPORT

10         The government has reviewed the presentence report (“PSR”) and

11   agrees with the factual findings and United States Sentencing

12   Guidelines (also referred to as “USSG”) calculations set forth

13   therein.   However, late last week, the government received additional

14   documents from defense counsel which may show that defendant’s

15   criminal history category should be a Category I instead of II.                The

16   government needs additional time to review those documents. If, after

17   reviewing those documents, the government agrees with defense counsel

18   that defendant’s criminal history category should be I instead of II,

19   the government will recommend a low-end sentence of 10 months

20   imprisonment instead of 12 months imprisonment.

21         Pursuant to its plea agreement with defendant, the government

22   calculates defendant’s USSG offense level as follows: A base level of

23   14 pursuant to USSG Section 2J1.2(a), a two-level upward adjustment

24   for selection of an essential or especially probative object or

25   extensive planning/preparation pursuant to USSG Section

26   2J1.2(b)(3)(B), and three-level downward adjustment for acceptance of

27   responsibility pursuant to USSG Section 3E1.1.          With a total offense

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 1   level of 13 and a Criminal History Category of II (See PSR, ¶¶ 48-

 2   53), defendant’s USSG range is 12 to 18 months in Zone D.

 3           For the reasons set forth below, and pursuant to its plea

 4   agreement with defendant, the government recommends that defendant be

 5   sentenced to a term of imprisonment of 15 months, a three-year term

 6   of supervised release, a fine of $10,000, and a special assessment of

 7   $100.

 8   III. UNDER THE FACTORS SET FORTH IN 18 U.S.C. § 3553(a), A 15-MONTH
          TERM OF IMPRISONMENT IS WARRANTED.
 9
             A.   THE NATURE AND CIRCUMSTANCES OF THE OFFENSE AND THE HISTORY
10                AND CHARACTERISTICS OF THE DEFENDANT

11           On November 24, 2021, when defendant took off in his aircraft

12   from Lompoc City Airport on November 24, 2021, he had no intent on

13   reaching his purported destination, Mammoth Lakes, California.            PSR,

14   ¶¶ 10-11.    Instead, defendant planned to eject from his airplane

15   during the flight and to videotape himself parachuting to the ground

16   and his airplane as it descended and crashed.         Id., ¶ 11.     Further,

17   defendant planned to post that video on YouTube.           Id.
18           Prior to taking off, defendant mounted several video cameras on
19   different parts of the airplane and equipped himself with a

20   parachute, video camera, and a selfie stock.         Id., ¶12.

21   Approximately 35 minutes after taking off, while flying above the Los

22   Padres National Forest, defendant ejected from the airplane and

23   videoed himself as he parachuted to the ground.          Id.     Using the video

24   camera mounted on his selfie stick and the video cameras mounted on

25   the airplane, defendant recorded the airplane as it descended and

26   crashed into the Los Padres National Forest.         Id.

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 1           After parachuting to the ground, defendant hiked to the location

 2   of the airplane wreck     and recovered the data containing the video

 3   recording of his flight and the crash of the airplane.           Id.

 4           Two days later, defendant notified the National Transportation

 5   Safety Board (“NTSB”) about the crash of his airplane.           Id., ¶14. On

 6   or about that same date, the NTSB launched an investigation into the

 7   crash and an NTSB Senior Aviation Investigator (“the NTSB

 8   Investigator”) interviewed defendant by telephone.          Id., ¶ 15.

 9           During the interview, the NTSB Investigator told defendant that

10   defendant was responsible for preserving the wreckage, and that the

11   NTSB would need to see the wreckage.        Id., ¶ 16.    In fact, the NTSB

12   Investigator emphasized to defendant that the focus was on
13   identifying the location of the wreckage.         Id.   At the end of the
14   interview, defendant agreed to provide the NTSB Investigator with
15   videos of the crash.      Id.
16           On November 29, 2021, the Federal Aviation Administration
17   (“FAQA”) also launched an investigation into the crash of defendant’s
18   airplane.    Id., ¶ 17.
19           On November 30, 2021, the NTSB Investigator followed up with

20   defendant and asked defendant by email if defendant knew the

21   longitude and latitude coordinates for the aircraft wreckage.            Id.,

22   ¶ 18.    About an hour and a half later, defendant responded by email,

23   stating that he did not have the coordinates and was still trying to

24   locate the wreckage.      Id., ¶ 19.

25           In early December 2021, defendant contacted a helicopter

26   company, and asked the owner of that company, S.S., if he could help

27   defendant retrieve his airplane.       Id., ¶ 20.    Thereafter, on December

28   10, 2021, S.S. picked up defendant and defendant’s friend in a

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 1   helicopter in Santa Maria, California.         Id., ¶ 21.   Defendant and his

 2   friend had each driven a pick-up truck to the location where S.S.

 3   picked them up.    Id.   Defendant informed S.S. of the location of the

 4   plane wreckage, and S.S. flew defendant and his friend to the site of

 5   the wreckage.    Id.     There, defendant secured the aircraft wreckage

 6   with straps, and the helicopter subsequently lifted the wreckage and

 7   carried it back to the meeting location in Santa Maria.           Id.

 8        At the meeting location, the helicopter loaded the wreckage into

 9   the trailer of defendant’s pick-up truck.         Plea Agreement, P. 8:2-5

10   Docket Entry No. 5, Filed 5-10-23.          Defendant drove the wreckage to

11   the Lompoc City Airport and unloaded the wreckage into a hangar used

12   by defendant.    PSR, ¶ 22.    Thereafter, defendant cut up and destroyed

13   the airplane wreckage and, over the course of a few days, deposited

14   the detached parts of the wrecked aircraft into trash receptacles at

15   the airport and elsewhere.      Id., ¶ 23.

16        Subsequently, on January 3, 2022, the NTSB Investigator again
17   emailed defendant and, among other things, asked defendant, Has the
18   wreckage been recovered, if so, where is it?”         The following day,
19   defendant responded by email and falsely stated, “I am not aware of

20   the plane location.”     Id., ¶¶ 24-25.

21        The intentional crashing of an airplane alone is a very serious

22   offense.   When defendant’s plane crashed in the Los Padres National

23   Forest, it damaged natural vegetation and created an unnecessary and

24   serious risk of a forest fire.       Moreover, while the plane crashed in

25   an area that was not inhabited, and in an area where the nearest

26   hiking trails appeared to be closed, the airplane could still have

27   caused serious bodily injury or death if someone was in the area of

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 1   the crash site.    In short, this was an exceptionally reckless stunt

 2   that could have had far more serious consequences.

 3        Defendant’s subsequent destruction of the plane wreckage with

 4   the intent to impede the federal investigation into the crash

 5   constitutes another serious offense.        An airplane crash is a

 6   significant event.     It is often associated with loss of life, serious

 7   injury, and destruction of property.        Some aircraft crashes also

 8   result in the casualties on the ground in addition to property

 9   damage.

10        Aircraft operators, passengers, the government, and the general

11   public have a strong interest in knowing the circumstances and causes

12   of an airplane crash.     Consequently, every airplane crash in the

13   United States is investigated by the FAA and the National

14   Transportation Safety Board.       It is common knowledge that the

15   examination of a crashed airplane is often critical in determining

16   the cause of a crash.

17        In this case, defendant knew that federal authorities were

18   anxious to examine the wreckage.       Moreover, defendant knew the

19   location of the wreckage.      However, instead of cooperating in the

20   investigation, defendant obstructed it.        Defendant prevented federal

21   authorities the chance to examine the wreckage by secretly recovering

22   the wreckage, destroying it, and then disposing of the aircraft

23   parts.    Even after recovering and destroying the aircraft, defendant

24   falsely represented to the NTSB Investigator that he did not know the

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 1   location of the wreckage.1      Defendant’s conduct was clearly designed

 2   to obstruct and impeded the federal investigation.

 3         More troubling is the fact that financial gain was at least part

 4   of the defendant’s motive in committing the foregoing offenses.

 5   Prior to defendant’s flight, defendant had secured a sponsorship from

 6   a company that sold various products, including a wallet.            Id., ¶ 26.

 7   Pursuant to that sponsorship deal, defendant would promote the

 8   company’s wallet in the video to be posted by defendant on YouTube.

 9   Id.   Defendant intended to make money by promoting the wallet in the

10   video that would depict, among other things, defendant parachuting
11   from his airplane and the airplane descending and crashing.            Id.
12   Consequently, on December 23, 2021, defendant uploaded a video on
13   YouTube that contained a promotion of the wallet and video of, among
14   other things, defendant piloting the airplane, ejecting from the
15   airplane, and parachuting to the ground, and defendant’s plane
16   crashing into the forest.      Id., ¶ 27.
17         With respect to mitigating factors, defendant does not have a
18   significant criminal history.       His prior convictions consist solely
19   of trespassing on railroad property.        Id., ¶¶ 49-51.     In addition,

20   defendant has previously excelled as an athlete, having made the

21   United States Snowboarding Team when he was 16 years old and actually

22   competing in the 2014 Winter Olympics in Russia.          Id., ¶ 63.    That

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           1Defendant made other false statements to federal authorities.
25   On November 31, 2021, defendant completed and submitted an NTSB
     Pilot/Operator Aircraft Accident Incident Report in which defendant
26   falsely indicated that he had experienced a full loss of power
     approximately 35 minutes after takeoff. Id., ¶ 29. On December 2,
27   2021, during a phone interview with FAA Aviation Safety Inspector
     E.B., defendant falsely stated that the airplane engine had quit, and
28   because defendant could not identify any safe landing options, and,
     consequently, parachuted out of the plane. Id., ¶ 30.
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 1   achievement shows that defendant can be successful when applying

 2   himself to something productive.

 3           Nevertheless, in light of the facts set forth above, a 12-month

 4   term of imprisonment strikes an appropriate balance between the

 5   serious nature and circumstances of defendant’s offense, on the one

 6   hand, and defendant’s history and characteristics, on the other.

 7           B.   THE NEED FOR THE SENTENCE IMPOSED TO RELFECT THE
                  SERIOUSNESS OF THE OFFENSE, TO PROMOTE RESPECT FOR THE LAW,
 8                AND TO PROVIDE JUST PUNISHMENT FOR THE OFFENSE

 9           A term of imprisonment is needed to reflect the seriousness of

10   defendant’s offense and to promote respect for the law.           A 12-month

11   term of imprisonment would reflect the seriousness of defendant’s

12   offense, sufficiently promote respect for the law, and provide a just

13   punishment for defendant’s offense.

14           C.   THE NEED FOR THE SENTENCE IMPOSED TO AFFORD ADEQUATE
                  DETERRENCE TO CRIMINAL CONDUCT
15
             The need to afford adequate deterrence is very significant in
16
     this case.    It appears that defendant exercised exceptionally poor
17
     judgment is committing this offense.        Given the facts described
18
     above, defendant most likely committed this offense to generate
19
     social media and news coverage for himself and to obtain financial
20
     gain.
21
             Nevertheless, this type of “daredevil” conduct cannot be
22
     tolerated.    A term of imprisonment is necessary to prevent others
23
     from attempting this type of stunt.         Simply put, others who might be
24
     tempted to gain social media notoriety and/or financial gain by
25
     crashing an airplane need to know that they will face imprisonment.
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 1         D.    THE NEED FOR THE SENTENCE IMPOSED TO PROTECT THE PUBLIC
                 FROM FURTHER CRIMES BY DEFENDANT
 2
           The government’s recommended sentence should adequately protect
 3
     the public from any further criminal conduct by defendant.              As set
 4
     forth above, defendant has a minimal criminal history.            The
 5
     consequences of a felony conviction, a 12-month term of imprisonment,
 6
     and a $10,000 fine should serve as a sufficient wake-up call for
 7
     defendant to steer himself in the right direction from hereon.
 8
           E.    THE NEED TO PROVIDE DEFENDANT WITH NEEDED EDUCATIONAL OR
 9               VOCATIONAL TRAINING, MEDICAL CARE, OR OTHER CORRECTIONAL
                 TREATMENT IN THE MOST EFFECTIVE MANNER
10
           The facts set forth in the PSR do not identify a need for the
11
     recommended sentence to provide any particular vocational training,
12
     medical care, or other correctional treatment.
13
           F.    THE NEED TO AVOID UNWARRANTED SENTENCE DISPARITIES AMONG
14               DEFENDANT WITH SIMILAR RECORDS WHO HAVE BEEN FOUND GUILTY
                 OF SIMILAR CONDUCT
15
           In light of the applicable sentencing range of 12 to 18 months,
16
     and the facts set forth above, it is unlikely that the government’s
17
     recommended sentence would create an unwarranted sentence disparity
18
     among defendants with similar records who have been found guilty of
19
     similar conduct.
20
     IV.   CONCLUSION
21
           For the reasons set forth above, the government recommends that
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     defendant be sentenced to a 12-month term of imprisonment, a fine of
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     $10,000, a two-year term of supervised release, and a $100 special
24
     assessment.
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